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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION

JUSTIN RICHE                                                                                 PLAINTIFF

VERSUS                                             CIVIL ACTION NO. 2:23-cv-00057-TBM-RPM

SHERIFF CHARLIE SIMS, et al.                                                             DEFENDANTS

 NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To:     Kelby Lewis

        Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in this Court under the number
shown above. A copy of the complaint is attached.

        This is not a summons. It is a request that, to avoid expenses, you waive formal service of a
summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within 30 days from the date shown below, which is the date this notice was sent. One copy of the
waiver form is enclosed.

        What happens next?

         When the signed waiver is filed, this action will proceed as if you had been served on the date the
waiver is filed, but no summons will be served on you. And you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint.

        If you do not return the signed waiver within the time indicated, the summons and complaint will
be served on you by the United States Marshal. The Court will consider requiring you, or the entity you
represent, to pay the expenses of making service.

        Please read the enclosed statement about the duty to avoid unnecessary expenses.


Date: __________________                                  Arthur Johnston, Clerk of Court
                                                                  (SEAL)
                                                          ___________________________
                                                          Signature of Clerk or Deputy Clerk
